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                                                                                                     l"i.S.iliil:fltr ilUR
                    IN      THE T'NITED STATES DISTRICT     COURT FOR ,,1** t't ;,iJi - 00uR
                                                                                         'j.
                                                                                  'i
                                       SOUTHERNDISTRICT OF GEORGIA
                                            AUGUSTA DTVTSTON            20l{'
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                                                                                                   i0lE0ffit0 Pt++\
U N ] T E D S T A T E SO F A M E R T C A                                                          ci_[ it
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                                                            ?k          aD     1OQ-nq,/                   S 3 . , . 1 1C
                                                                                                                       SiT0. A

SHAhTNBERNARD DOBY




                                                         ORDER


            Defendant has filed                    a motion for              reduction        of sentence under
                                                                                                          '782
18 U.S.C.            S 3582(c) (2) on che basis                              rhat     Amendmenc                  to     che

United           Srates      Sentencing             Gujdelines               has revjsed          the     guidelines

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782 became effective                         on Novenoer 7,                  2A14, no defendant                  may be

released            on      the        basls        of    the         retroactive             amendment before

November L, 2015.                      See U.S.S.G. Anend. 788.                           Thus, rhe Courl will

undercake a review of                        c a s e s j n v o - l vi n g d r u g c r a f f i c k i n g       offenses

in due course.                    If    Defendant ls             entltled         to a sentence reduction

as      a       result       of        amendments to                  the     United        States        Sentencing

C riclel i^Fs-           rha       CorTt         wiff     make        such a reduct.ion sua sponte.

Ar-rnrdr rrrl rr-           I)cFcnclant's          mOtion          (doc. no. 6C7) is DEEEBBEiD-:-

            ORDER ENTERED at                                           ceors ia,           Lhis    @?            ou,     of

December, 2014.




                                                                        UNITED STAT               DISTRICT JU


            '     The Clerk             is   directed            to     terminate          the    motion          for
a o m r n _ L S L r d L iv e p u r p o s e s .
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